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                   UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION
 UNITED STATES OF AMERICA,
 v.                                 Case No. 8:21-cr-00218-CEH-AAS
 WILLIAM WALKER,
 Defendant.
 _________________________

      DEFENDANT’S SUPPLEMENTAL SENTENCING MEMORANDUM
       COMES NOW, the Defendant WILLIAM WALKER, by and through

 undersigned counsel and hereby files this Supplemental Sentencing

 Memorandum. Counsel moves this Honorable Court for a downward

 departure from the otherwise applicable advisory guideline range pursuant

 to USSG 4A1.3(b), or in the alternative, a variance pursuant to 18 USC

 3553, for a sentence sufficient, but not greater than necessary to comply

 with the statutory purposes of sentencing.

              PERSONAL BACKGROUND OF THE DEFENDANT

       William “Bill” Walker was born on June 19, 1983, in Jacksonville,

 Florida. His parents divorced when he was two years old. He was later

 adopted and raised by his stepfather, Virgil Walker. The Defendant and his

 wife, Lisa Walker, have been together for almost six years and enjoy a

 close relationship. Lisa Walker, her daughter, and grandchildren, have


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 been emotionally and financially impacted by Bill’s arrest. Both Lisa Walker

 and his mother, Dixie Walker, describe Bill as an outgoing, hard worker,

 who makes people laugh, but made bad choices. Prior to his arrest, Bill

 Walker was gainfully employed at a large commercial air conditioning

 company. His employer also describes Bill Walker as hardworking and

 adds that he has “[g]reat potential to become a Journeyman Sheet Metal

 Worker and his ability to get along and accepting others was also one of his

 Strong Points.” Letter from Vice President of Operations, Jimmy DePetris,

 Thermodyne Heating and Cooling Specialists

                  FACTUAL AND PROCEDURAL HISTORY

       After two convictions at ages 22 and 24 for driving under the

 influence, and an arrest for disorderly conduct at age 25, Bill Walker was

 arrested at age 26 for conspiracy to manufacture and possession of

 methamphetamine Case No. 2009-CF-2209. After 12 months incarceration

 and 24 months’ probation, Bill Walker, at age 29, was arrested on

 December 10, 2009. and charged with two cases: (i) possession of a

 controlled substance: alprazolam and diazepam, Case No. 2012-CF-2381,

 and (ii) conspiracy to produce methamphetamine Case No. 2012-CF-2382.

 He was sentenced to a concurrent term of forty-two months. Shortly after

 entering a state prison facility, Bill Walker joined a prison gang called the
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 Unforgiven. When released, Bill Walker continued to associate with other

 members of the Unforgiven, in both its good work in finding employment

 and housing for former inmates, and in its bad work, in participating in the

 gang’s administrative and organizational activities.

       On July 15, 2021, Bill Walker was arrested for conduct that occurred

 two years earlier, in January 2019, for the gang’s vote and discussions to

 forcibly remove tattoo patches from an Unforgiven member: “T.B.” T.B. had

 been friend of Bill Walker. TB had previously lived with Bill Walker and

 Walker’s extended family at Bill Walker’s house. Mr. Walker was charged in

 a single count, count 4 of conspiracy to commit assault using a dangerous

 weapon in aid of racketeering activity. T.B. did not incur any physical injury.

 Bill Walker timely entered a plea of guilty and accepted responsibility.

 Pursuant to the agreement, the Government will recommend a three-level

 reduction for acceptance of responsibility and a sentence within the

 applicable guideline range.

    MOTION FOR A DOWNWARD DEPARTURE FROM THE ADVISORY
                     GUIDELINE RANGE
       Bill Walker requests this Court depart downward based on an over-

 representation of his criminal history. USSG 4A1.3(b)(1) states:

       (b) Downward Departure.


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       (1) STANDARD FOR DOWNWARD DEPARTURE. If reliable

 information indicates the defendant’s criminal history category over-

 represents the seriousness of the defendant’s criminal history or the

 likelihood that the defendant will commit other crimes, a downward

 departure may be warranted.

       The scoreable convictions for Bill Walker are as follows:

       Offense                                        Criminal History Points

       1. Conspiracy to Manufacture and possession

          Of controlled substances (Age 26)                 2

       2. Possession of a Controlled Substance

          Alprazolam/Diazepam (Age 29)                      3

          Total                                             5

 On October 10, 2021, at age 29, Bill Walker was charged in two cases:

 #2021-CF-2382 conspiracy to manufacture methamphetamine and #2021-

 CF-2381 possession of a controlled substance alprazolam/diazepam.

 USSG 4A1.2(a)(2) provides that where there was not an intervening arrest

 and the two sentences were imposed on the same day, the sentences are

 treated as a single sentence.




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       The five criminal history points are clearly related to one thing: Bill

 Walker’s addiction in the past to methamphetamine. It should be

 recognized and applauded that Bill Walker has not been involved in

 methamphetamine for over eight years. In the time since Bill Walker left

 prison in 2015, he met his wife and became gainfully employed as an AC

 sheet metal worker for over three years before his arrest. He did not return

 to methamphetamine. It must be conceded that Bill Walker smoked

 marijuana and admitted such to officers upon his arrest. Such habit may be

 associated with his ADHD which is discussed further in this memorandum.

       The five criminal history points involve methamphetamine, and not

 violence or illegal gang related activities. Bill Walker seeks a departure

 from five criminal history points to three criminal history points which more

 accurately represents his criminal history. USSG 4A1.3(b)(1) provides: “If

 reliable information indicates that the defendant’s criminal history category

 substantially over-represents the seriousness of the defendant’s criminal

 history or the likelihood that the defendant will commit other crimes, a

 downward departure may be warranted.” The guidelines do not provide a

 definition for “seriousness” or “likelihood.” Section 4A1.3 is a policy

 statement that authorizes the sentencing judge to exercise a departure for

 such sufficient factors depending on the facts of a particular case.

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        In United States v. Kortgaard, 425 F.3d 603, 609 (9th Cir. 2005), the

 court reviewed two principal factors under 4A1.3: “seriousness” and

 “likelihood of future recidivism”. As to the “seriousness” factor, the appellate

 court observed that “it is the quality of the criminal history and not the

 quantity which is decisive” citing United States v. Segura-Del Real, 83 F.3d

 275, 277 (9th Cir. 1996). The analysis consists of comparing relative

 judgments about the seriousness of the defendant’s prior offenses and his

 record. As to the seriousness factor, Bill Walker contends that all three

 cases concerned his meth addiction. As to the second factor of “likelihood,”

 the appellate court analyzed “(1) the quantity (or repetitiveness’) of

 uncounted criminal procedure, (2) the similarly of uncounted criminal

 conduct to the offense conduct; (3) the degree to which the defendant has

 been deterred by prior sentences.” As to the “likelihood” factor, it must be

 noted that Bill Walker has not been associated with meth for over eight

 years since his release from Florida State prison. He has not been arrested

 for any kind of crime, other than the instant offense where he threatened

 but did not actually commit an assault.

 VARIANCE FOR OVER-REPRESENTATION OF CRIMINAL HISTORY

       Bill Walker has a criminal history that is associated with alcohol or

 substance use or abuse: DUI, disorderly intoxication – public disturbance,
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 manufacture, produce, sale, and possession of a controlled substance.

 PSR Paragraphs 76 – 84. None of the prior arrests or convictions are gang

 related or have racial overtones. There is no evidence to suggest that he

 participated in any racially charged organization prior to his incarceration in

 the Florida prison system. Bill Walker regrets his affiliation with the

 Unforgiven and looks forward to rejoining his family and his job.

       Bill Walker has a criminal history score of five based on two prior drug

 convictions in 2009 and 2012. This provides a criminal history category of

 III. The Defendant’s total offense level of 13 with a Criminal History

 Category III results in an advisory guideline level of 18 to 24 months. PSR

 Paragraph 128. Since his release from prison, Bill Walker has not been

 arrested for any type of crime, other than the instant offense where he

 threatened but did not commit any assault.

               VARIANCE FOR HISTORY AND CHARACTERISTICS

       In paragraph 144, the Probation Officer reports that the following 18

 USC 3553(a)(1)-(7) factors may warrant a sentence outside the advisory

 guideline system: (i) the nature and circumstances of the offense and the

 history and characteristics of the defendant, including his violent




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 involvement in a highly organized white supremacist organization; (ii) his

 substance abuse history; and (iii) his untreated mental health history.

       Bill Walker’s substance abuse history is set forth above. However, it

 is the untreated mental health history and substance abuse that

 underscores the offenses and criminal history. This defendant was

 diagnosed with attention deficit hyperactivity disorder [ADHD] but did not

 receive any psychiatric treatment. He has a history of hyperactivity and

 troubles in focusing on a problem or issue. This led to him dropping out of

 school at the 11th grade. It can be clearly recognized that such a medical

 condition led to abuse of methamphetamine. The use of marijuana is also

 recognized as self-medication for individuals afflicted with ADHD.

       Other Courts have varied downward on account of untreated ADHD.

 In United States v. Patzer, 548 F.Supp.2d 612 (N.D. Ill. 2008), the court

 varied downward based on the defendant’s history and characteristics

 including ADHD. See also, United States v. Gapinski, 422 F. App’x 513 (6th

 Cir. 2011) (citing Patzer, district court directed to consider a lower sentence

 based upon alleged diminished capacity due to ADHD).

       A last point must be made based upon the recent physical injury to

 Bill Walker during his incarceration at the Citrus County Jail. On or about


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 March 28, 2022, it was reported that Bill Walker broke his arm, reportedly in

 two places, which required hospitalization and two surgeries. It is also

 reported that physical therapy will be critical for a goal of full recovery.

 Undersigned counsel is not aware of the circumstances of the cause of the

 injury as reported by the US Marshal. However, it is counsel’s

 understanding that the injury was severe and would require physical

 therapy. As such, counsel contends that a departure or variance is

 appropriate, and that Bill Walker be required to obtain both mental health

 treatment and physical therapy during a term of supervised release.

                                 CONCLUSION

       Mr. Walker respectfully requests that this Honorable Court consider

 the information and arguments outlined in this Supplemental Sentencing

 Memorandum and prior Sentencing Memorandum, and attachments, in

 determining his sentence. Counsel submits that under the circumstances of

 this case, with the Defendant’s substance abuse and mental health issues,

 now coupled with a broken arm and physical therapy, that can be best

 addressed during his term of supervised release, a low end of the

 guidelines sentence of twelve (12) months is “sufficient but not greater than

 necessary to comply with” the goals of sentencing.



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  Date: April 6, 2022

                         CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing has been furnished

  by ECF to Samantha E. Beckman, Office of the United States Attorney, 400

  North Tampa Street #3200 Tampa, Florida 33602-4798

  Samantha.beckman@doj.gov this 6th day of April 2022.




                                                Respectfully Submitted,
                                                /s/ Clyde Collins
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